      Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 1 of 13



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,           )
                                        )
             Plaintiffs,                )
                                        )
vs.                                     )
                                            No. 1:17-cv-00365-DAE-AWA
                                        )
GRANDE COMMUNICATIONS                   )
NETWORKS LLC,                           )
                                        )
             Defendant.
                                        )


          DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
            MOTION TO EXCLUDE PROPOSED EXERT TESTIMONY
                     OF DR. TERRENCE P. MCGARTY
     Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 2 of 13



        Pursuant to Federal Rule of Evidence 702, Defendant Grande Communications

Networks, LLC (“Grande”) moves to exclude the proposed expert testimony of Dr. Terrence

McGarty. In BMG Rights Management (US) LLC v. Cox Communications, Inc., the district court

excluded Dr. McGarty’s proposed expert testimony on the very same issues he intends to address

in this case.1

        The vast majority of Dr. McGarty’s proposed expert testimony is merely a summary of

evidence regarding Grande’s policies and procedures for responding to notices of alleged

copyright infringement. Such a factual narrative is improper expert testimony as it is not based

on any “scientific, technical, or specialized knowledge.”2 Indeed, Dr. McGarty admits that he

lacks any relevant qualifications in the field of his proposed testimony. Furthermore, like certain

of Plaintiffs’ other experts, Dr. McGarty’s proposed testimony is based on unsupported

assumptions and includes inadmissible legal conclusions regarding what constitutes copyright

infringement.

        In his expert report, Dr. McGarty also purported to offer expert testimony regarding

BitTorrent and networking technologies. In his deposition, however, Dr. McGarty conceded that

he does not intend to offer this proposed testimony at trial. In any event, it is readily apparent




1 See Order at 1, BMG Rights Mgmt. (US) LLC v. Cox Comm’cns, Inc., No. 1:14-cv-1611 (E.D.
Va. Nov. 25, 2015) (ECF No. 691). After Dr. McGarty’s expert testimony was excluded, Cox
did not object at trial to Dr. McGarty offering rebuttal testimony regarding the effectiveness of
Cox’s “graduated response system” for dealing with DMCA notices. BMG Rights Mgmt. (US)
LLC v. Cox Commc’ns, Inc., 199 F. Supp. 3d 958, 990 & n.27 (E.D. Va. 2016), aff’d in part &
rev’d in part, 881 F.3d 293 (4th Cir. 2018).
Dr. McGarty’s opinions have been excluded on at least one other occasion as well. See
Arzoomanian v. British Telecomms, PLC, No. 2:03-cv-00374, 2007 WL 132983, at *1, 16
(D.N.J. Jan. 12, 2007) (excluding Dr. McGarty’s proposed testimony because it was “contrary to
the facts of the case”).
2 See Fed. R. Evid. 702.


                                                  1
       Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 3 of 13



that this testimony is inadmissible for a number of reasons, including Dr. McGarty’s admitted

lack of knowledge regarding BitTorrent and the irrelevance of his discussion of networking

technologies.

        For these reasons, as discussed in detail below, the Court should exclude Dr. McGarty’s

proposed expert testimony under Rule 702.

                                       LEGAL STANDARD

        Daubert v. Merrell Dow Pharmaceuticals, Inc. provides the analytical framework for

determining whether expert testimony is admissible under Federal Rule of Evidence 702. 509

U.S. 579, 597 (1993). In Daubert, the Supreme Court emphasized that district courts are

assigned a “gatekeeping role” with respect to the admissibility of expert testimony. Daubert thus

entrusts the district court with “the task of ensuring that an expert’s testimony both rests on a

reliable foundation and is relevant to the task at hand.” 509 U.S. at 597. For expert testimony to

be reliable, it must (1) be “based on sufficient facts or data,” (2) be “the product of reliable

principles and methods,” and (3) have “reliably applied the principles and methods to the facts of

the case.” Fed. R. Evid. 702. For expert testimony to be relevant, it must “assist the trier of fact

to understand the evidence or to determine a fact in issue.” Daubert, 509 U.S. at 591 (quoting

Fed. R. Evid. 702).

                                           ARGUMENT

  I.    THE COURT SHOULD PRECLUDE DR. MCGARTY FROM OFFERING
        OPINIONS REGARDING GRANDE’S POLICIES AND PROCEDURES FOR
        ADDRESSING NOTICES OF ALLEGED COPYRIGHT INFRINGEMENT

        A.      Dr. McGarty’s “Opinions” Are an Improper Factual Narrative.

        The lion’s share of Dr. McGarty’s proposed “expert” testimony is nothing more than a

factual narrative summarizing certain evidence. Sections VII and VIII of his expert report




                                                  2
     Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 4 of 13



simply recite Plaintiffs’ version of this evidence—evidence of which Dr. McGarty has no first-

hand knowledge. See McGarty Report, ¶¶ 39-59 (Ex. 1). Dr. McGarty offers no expert analysis

or opinion whatsoever; he simply regurgitates evidence regarding Grande’s policies and

procedures for receiving and responding to notices of alleged copyright infringement by

Grande’s subscribers. See id.

       This fact narrative is not proper expert testimony because it is not directed to “scientific,

technical, or specialized knowledge.” See Fed. R. Evid.702. Courts regularly bar experts from

testifying in this manner. See, e .g., Robroy Industries-Texas, LLC v. Thomas & Betts Corp., No.

2:15-cv-00512-WCB, 2017 WL 1319553, at *9 (E.D. Tex. Apr. 10, 2017) (“The danger of

allowing an expert to simply summarize evidence provided to the expert by the party that

retained him is, of course, that the expert will become a vehicle through whom the party can

summarize its case for the jury, with the imprimatur of the expert’s asserted ‘expertise.’”); Tardif

v. City of New York, No. 1:13-cv-04056-KMW-KNF, 2018 WL 4735707, at *13 (S.D.N.Y. Oct.

1, 2018) (“Because factual narrative from an expert is unnecessary, and Dr. Goldman has no

personal knowledge of the underlying facts, Dr. Goldman may not offer the testimony contained

in pages 2–5 of his report.”); In re Rezulin Prod. Liab. Litig., 309 F.Supp.2d 531, 551 (S.D.N.Y.

2004) (precluding expert testimony that consisted of a “narrative of the case which a juror is

equally capable of constructing”); see also Salas v. Carpenter, 980 F.2d 299, 305 (5th Cir. 1992)

(“[T]he trial judge ought to insist that a proffered expert bring to the jury more than the lawyers

can offer in argument.”).

       The Court should therefore preclude Dr. McGarty from presenting the proposed expert

testimony set forth in Sections VII and VIII of his Report because Plaintiffs are impermissibly

attempting to use Dr. McGarty as a vehicle for presenting a factual narrative. As noted, the Cox




                                                 3
     Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 5 of 13



court properly precluded Dr. McGarty from offering this sort of testimony under the guise of

expert analysis. The Court should do the same here.

       B.      The Court Should Preclude Dr. McGarty from Offering “Expert” Testimony
               regarding Grande’s Enforcement of Its DMCA Policies.

       The purpose of Dr. McGarty’s factual narrative is to suggest that Grande insufficiently

implemented its own copyright infringement policies, and is therefore unable to satisfy the safe

harbor requirements of the Digital Millennium Copyright Act (“DMCA”). Specifically, Dr.

McGarty intends to testify that a failure to terminate more subscribers indicates that Grande

failed to enforce its DMCA or “Acceptable Use” policies. See, e.g., McGarty Report, ¶ 54 (Ex.

1). Whether Grande did or did not enforce its own policies plainly is not a subject that calls for

expert analysis or opinion. Courts consistently hold that this sort of factual summary is an

improper use of expert testimony. See, e.g., Robroy, 2017 WL 1319553, at *9 (allowing a

witness, “under the guise of expert testimony, to in effect become the mouthpieces of the

witnesses on whose statements or opinions the expert purports to base his opinion” is a violation

of Rule 703) (collecting cases).

       The Court should also preclude Dr. McGarty from offering this testimony to the jury

because he is not qualified to testify about DMCA policies and procedures. Dr. McGarty does

not have any first-hand experience with DMCA policies and procedures. In his deposition, Dr.

McGarty admitted that he is not an expert on the DMCA. See McGarty Dep. Tr. at 26:12-203

(Ex. 2) (“A: ... My reading of the DMCA is as a lay person”). He also admitted to not having

any industry knowledge on DMCA standards, information about other DMCA policies, or any

experience with how an ISP should respond to allegations of copyright infringement directed to



3 These citations refer to the rough transcript of Dr McGarty’s deposition due to an unexpected
delay in receiving the final transcript.


                                                 4
     Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 6 of 13



subscribers. Id. at 5:24-7:16; 64:13-66:8; 77:15-78:6. Without any background or expertise with

the DMCA, Dr. McGarty’s testimony is inadmissible because it is not based on any “specialized

knowledge.”4

       In addition to Dr. McGarty’s lack of experience with the DMCA, his opinions should also

be excluded because they constitute impermissible legal conclusions. Dr. McGarty’s proposed

testimony bears on whether Grande “reasonably implemented” a policy for terminating repeat

copyright infringers under the DMCA safe harbor. See 17 U.S.C. § 512(i)(1)(A); see also

McGarty Dep. Tr. at 48:20-24; 49:11-20; 59:19-60:9; 62:3-13; 63:6-20; 65:10-66:8 (Ex. 2).

Courts consistently hold that experts may not opine on “reasonableness” under the law. See, e.g.,

Estate of Sowell v. United States, 198 F.3d 169, 171-72 (5th Cir. 1999) (excluding expert

testimony regarding whether the Estate “acted reasonably” as this testimony was inadmissible

legal opinion).

       Thus, separate and apart from Dr. McGarty’s inability to offer anything beyond a factual

narrative, he should not be permitted to testify as an expert about Grande’s DMCA policies or

procedures because (1) he lacks the requisite qualifications or experience; and (2) any such

testimony constitutes an inadmissible legal conclusion.

       C.         The Court Should Preclude Dr. McGarty from Offering Opinions on the
                  Validity of Rightscorp’s Notices.

       Dr. McGarty’s testimony is intended to suggest that Grande’s failure to terminate

subscribers based on Rightscorp’s notices indicates that Grande failed to enforce its DMCA



4 Dr. McGarty also admitted that he has no knowledge or opinion whatsoever regarding what
Grande should have done with respect to its DMCA policy. Id. at 66:5-8 (“A: All I can say is
that from an implementation point of view and a communication point of view you’ve got to do
something. What that something is, I’m not opining on.”); see also id. at 48:3-5 (“That is a
policy that Grande itself would have to establish in regards to what represents repeat
[infringement]. I’m not doing that.”).


                                                5
     Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 7 of 13



policies. See, e.g., McGarty Report, ¶ 13 (Ex. 1). However, Dr. McGarty admitted that he has

no knowledge of whether Rightscorp’s notices actually reflect or document instances of

copyright infringement. See McGarty Dep. Tr. at 60:4-5 (“I have no knowledge of Rightscorp

and its capabilities to capture [infringing conduct].”) (Ex. 2); see also id. at 62:18-23 (“All I can

say is that I’m making the assumption, predicating it on what arrives at that email server has to

be acted upon. As to the accuracy, validity, veracity of the Rightscorp notices in and of itself I

cannot make an opinion.”).

       Dr. McGarty has not performed any analysis of Rightscorp’s notices and has no idea if

they represent actual instances of infringement, yet his proposed expert testimony is based on the

assumption that they are accurate. Id. at 61:17-19 (“I’m not making any statement with regards

to the completeness of Rightscorp’s notices other than the fact that they arrived in the mailbox of

Grande.”); see also id. at 27:19-20 (“It is not my intent to offer any comments on the sufficiency

of Rightscorp’s notices in any way.”).5 Expert testimony based on unsupported assumptions is

routinely excluded. See, e.g., Jacked Up, LLC v. Sara Lee Corp., 291 F. Supp. 3d 295, 810

(N.D. Tex. 2018) (excluding testimony based on assumptions that lacked any evidentiary basis).

       In short, the testimony Dr. McGarty intends to offer regarding Grande’s failure to

implement its DMCA policies, based on its alleged failure to terminate subscribers based on

Rightscorp’s notices, is unreliable and accounts to nothing more than inadmissible ipse dixit

testimony. “[N]othing in either Daubert or the Federal Rules of Evidence requires a district court

to admit opinion evidence that is connected to existing data only by the ipse dixit of the expert.”



5 See also id. at 17:23-18:3 (“A: I am assuming that the notices are coming in which are
submitted under subject to perjury punishment, et cetera, et cetera, have a certain level of validity
that they have to be acted upon. Then they go in the system and you now have to do
something.”); see also id. at 74: 12-75:17 (noting that he takes the notices of alleged copyright
infringement at “face value”).


                                                  6
     Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 8 of 13



Johnson v. Arkema, Inc., 685 F.3d 452, 467 (5th Cir. 2012) (citation omitted). The Court should

therefore exclude Dr. McGarty’s opinions because they are unsupported and unreliable, and will

only serve to confuse or mislead the jury.

       D.      The Court Should Preclude Dr. McGarty from Offering Legal Conclusions
               regarding “Infringement.”

       Throughout his report, Dr. McGarty provides proposed expert testimony relating to

Grande’s receipt of notices of “infringement” and “repeat infringement,” and Grande’s actions

with respect to “infringers” and “repeat infringers.” See, e.g., McGarty Report, ¶¶ 13-14. 16, 41-

43, 47-48, 51, 53-57, 59 (Ex. 1). This proposed testimony is inadmissible because Dr. McGarty

is offering legal conclusions under the guise of expert analysis.

       As explained in Section I.C, Dr. McGarty equates Rightscorp notices to actual

infringement, without any underlying analysis regarding the accuracy of those notices. See also

McGarty Dep. Tr. at 18:8-18 (“I’m not here opining in any way, shape or form on the Rightscorp

notices. I make an assumption that the notice comes. As to the completeness of the notice, other

than meeting the statutory requirements, that’s as far as I think I can go . . . as to what happens

before that notice arrives at the mail server of Grande, I’m not opining on that at all.”) (Ex. 2).

What constitutes copyright infringement is a legal question to be determined by the Court. An

expert witness is not permitted to opine on applicable legal standards, which is exactly what Dr.

McGarty does by equating notices with “infringement.” See, e.g., Askanase v. Fatjo, 130 F.3d

657, 672-73 (5th Cir. 1997); Morris v. Equifax Information Servs., LLC, No. 4:04-cv-00423,

2005 WL 5976334, at *6 (S.D. Tex. Jan. 19, 2005) (“Morris’s proposed expert testimony is

improper because it expresses a legal opinion and usurps the Court’s role in instructing the jury

on the law.”); Owen v. Kerr-McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983) (“Allowing an

expert to give his opinion on the legal conclusions to be drawn from the evidence both invades



                                                  7
     Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 9 of 13



the court’s province and is irrelevant.”).

       Dr. McGarty also intends to offer opinions regarding the status of various Grande

subscribers as “repeat infringers.” See, e.g., McGarty Report, ¶¶ 13-14, 16, 56-57, 59 (Ex. 1).

The definition and existence of “repeat infringers” relates to Grande’s safe harbor defense under

the DMCA. See 17 U.S.C. § 512(a), (i)(1)(A). It is the Court’s role to instruct the jury on the

meaning of “repeat infringement,” not Dr. McGarty’s. See In re Settoon Towing, L.L.C., 859

F.3d 340, 345 (5th Cir. 2017) (“[The court’s] task is to discern the meaning of a statute.”);

Washington v. City of Waldo, Florida, No. 1:15-cv-00073, 2016 WL 3545909, at *4 (N.D. Fl.

Mar. 1, 2016) (“Expert testimony is also not helpful, and indeed potentially confusing for the

jury, when it purports to articulate the requirements of the law, especially when those

requirements differ from the actual requirements set forth in binding legal authorities.”).

       Based on the foregoing, the Court should exclude Dr. McGarty’s opinions on

“infringement,” “infringers,” and “repeat infringement” because that testimony invades the

province of the Court, is unreliable opinion testimony, and would only serve to confuse or

mislead the jury.

       E.      The Court Should Preclude Dr. McGarty from Offering Opinions on
               Grande’s State of Mind.

       In Section VIII of Dr. McGarty’s report, he opines that Grande “deliberately refused” to

enforce its Acceptable Use Policy. See McGarty Report, ¶ 54-59 (Ex. 1). In his deposition, Dr.

McGarty confirmed that he intends to offer an assessment of Grande’s state of mind. See

McGarty Dep. Tr. at 53:17-54:1 (A: ... Now, we could argue over the term deliberate, but they

just didn’t want to do anything, and they made a deliberate decision not to do anything. Q: And

that’s based on your review of the evidence in this case. A: My review of the evidence.) (Ex. 2).

       Opinions regarding a party’s state of mind are consistently excluded as improper expert



                                                 8
    Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 10 of 13



testimony. See, e.g., Tyree v. Boston Sci. Corp., 54 F. Supp. 3d 501, 564 (S.D.W. Va. 2014), as

amended (Oct. 29, 2014) (“[T]he defendant’s knowledge, state of mind, alleged bad acts, failures

to act, or other matters related to corporate conduct and ethics are not appropriate subjects of

expert testimony because opinions on these matters will not assist the jury.”); In re Rezulin

Prods. Liab. Litig., 309 F.Supp.2d 531, 546 (S.D.N.Y. 2004) (“Inferences about the intent or

motive of parties or others lie outside the bounds of expert testimony.”); Kidder v. Peabody &

Co. v. IAG Int'l Acceptance Grp., N.V., 14 F.Supp.2d 391, 404 (S.D.N.Y. 1998) (“The

reasonableness of conduct and a party's then-existing state of mind are the sort of questions that

lay jurors have been answering without expert assistance from time immemorial.”).

       The Court should therefore preclude Dr. McGarty from offering opinions on Grande’s

state of mind because it is not a permissible subject of expert testimony.

  II. THE COURT SHOULD PRECLUDE DR. MCGARTY FROM OFFERING
      EXPERT TESTIMONY ON BITTORRENT AND NETWORKING
      TECHNOLOGY

       A.      Dr. McGarty Does Not Have the Requisite Education or Expertise in
               BitTorrent Technology.

       Section VI of Dr. McGarty’s report contains discussion of how BitTorrent functions. See

McGarty Report, ¶¶ 35-38 (Ex. 1). In deposition, however, Dr. McGarty disclaimed any

intention to provide expert testimony on this subject. McGarty Dep. Tr. at 20:11-21:18; 43:16-

21 (Ex. 2). His proposed testimony should therefore be excluded for this reason alone.

       Furthermore, Dr. McGarty does not have any education or experience relating to

BitTorrent. See id. at 19:11-20:10; see also McGarty Report, Attachment 1 (Ex. 1). Indeed, Dr.

McGarty admitted that he has never even used BitTorrent. McGarty Dep. Tr. at 19:11-12 (Ex.

2). Because he lacks any relevant education or experience, Dr. McGarty should not be permitted

to offer expert testimony on BitTorrent. See, e.g., Marsteller v. Stanley Works, No. 1:09-cv-



                                                 9
    Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 11 of 13



00473-LY, 2010 WL 11571038, at *2 (W.D. Tex. Aug. 26, 2010) (granting motion to exclude

“highly credentialed” engineer from testifying about pneumatic nail guns because “he [did] not

have sufficient qualifications by training or experience” in that particular area.).

       B.      Dr. McGarty’s Proposed Testimony Relating to Networking Technologies Is
               Not Relevant to Any Fact in Dispute.

       Section V of Dr. McGarty’s report relates to “cable television systems, internet

architectures and network operations.” See McGarty Report, ¶¶ 17-34 (Ex. 1). As with his

discussion of BitTorrent, Dr. McGarty has disclaimed any intention to offer this testimony at

trial, except to the extent it might provide necessary context for his other proposed testimony.

McGarty Dep. Tr. at 66:22-24 (“Q: Do you intend to offer testimony at trial on these subjects?

A: No.”), 69:17-71:25 (Ex. 2). Dr. McGarty’s proposed testimony on these subjects should

therefore be excluded for the reasons discussed above. See also id. at 66:17-21 (admitting that

Section V is merely “a recitation of facts”).

       Dr. McGarty’s proffered testimony regarding cable systems and networks also would not

help the jury in understanding the evidence or determining any fact in issue. See Fed. R. Evid.

702. Grande is not aware of any disputed issue to which this testimony may be relevant. The

Court should therefore exclude the opinions set forth in Section V of Dr. McGarty’s report as

irrelevant, unhelpful, and confusing to the jury.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant Grande’s Motion and exclude the

proposed expert testimony of Dr. Terrence McGarty.




                                                    10
   Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 12 of 13




Dated: November 15, 2018
                                         By: /s/ Zachary C. Howenstine
                                             Richard L. Brophy
                                             Zachary C. Howenstine
                                             Margaret R. Szewczyk
                                             ARMSTRONG TEASDALE LLP
                                             7700 Forsyth Blvd., Suite 1800
                                             St. Louis, Missouri 63105
                                             Telephone: 314.621.5070
                                             Fax: 314.621.5065
                                             rbrophy@armstrongteasdale.com
                                             zhowenstine@armstrongteasdale.com
                                             mszewczyk@armstrongteasdale.com

                                             J. Stephen Ravel
                                             Texas State Bar No. 16584975
                                             J.R. Johnson
                                             Texas State Bar No. 24070000
                                             Diana L. Nichols
                                             Texas State Bar No. 00784682
                                             KELLY HART & HALLMAN LLP
                                             303 Colorado, Suite 2000
                                             Austin, Texas 78701
                                             Telephone: 512.495.6429
                                             Fax: 512.495.6401
                                             Email: steve.ravel@kellyhart.com
                                                     jr.johnson@kellyhart.com
                                                     diana.nichols@kellyhart.com

                                             Attorneys for Defendant GRANDE
                                             COMMUNICATIONS NETWORKS LLC




                                    11
    Case 1:17-cv-00365-DAE-AWA Document 221 Filed 11/15/18 Page 13 of 13



                               CERTIFICATE OF SERVICE

       The undersigned certifies that on November 15, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Zachary C. Howenstine
                                                   Zachary C. Howenstine




                                              12
